                   Case 2:20-cr-00055-LMA-KWR Document 87-5 Filed 10/22/20 Page 1 of 1


                                                 Criminal Cases Report
                                   U.S. District Court -- Eastern District of I.ouisiana
\-
                                      F-ilcrl Report Period: 10l5ll97A - rcny2020

                Casc   Numllcrl                                           Da1's
                                                 Case Dates                                                    Notes
                       Title                                           Pending
      2   :20-cr-O0055-M LC Ir-KWR       Case    /iled:   0612612020                      Oflice: New Orleans
      USA v. Williams et al                                                               Presider : Martin L.C. Feldman
                                                                                          Referral : Karen Wells Roby
                                                                                          Citation: 3l:5331.F RECORDS AND
                                                                                          REPORTS ON MONETARY
                                                                                          INSTRUMENTS TRANSACTIONS
           I -.lason R Williams          Added: 0612612020              108               Pre,sider: Martin L.C. Feldman
                                                                                          Refbrral: Karen Wells Roby
           2 - Nicole E. Burdett         .4tleled. 0612612020           108               Presider: Martin L.C. Feldnran
                                                                                          Re/brral: Karen Wells Roby

      Total Number of Cases Reported:        I




                                               Selection Criteria for
                                        Office                  All
                                        Case type(s)                      cr
\-                                      Citation                          31:533 LF
                                        Pending counts                    Yes

                                        Disposed counts                   Yes

                                        CVB Cases                         No
                                        Filed Date                        tjlslt970 - 1011312020
                                        Case flags                        Ail
                                        Terminal digits                   All
                                        Pending defendants                Yes

                                        Terminated defendants             Yes

                                        Fugitive defendants               No
                                        Non-fugitive defendants Yes
                                        Sort by                           case number


                                                      PACER Service Center
                                                           Transaction Receipt
                                                              1011212020 l3:59:14

                                    P^EEE-f                  lm,t -
                                    Login: l.burdetll'
                                                   -           llcoa.,
\-.                                     . f lc,iil,lc,*'lts.,"*h
                                    ^ucsc.Ptrotr:llRcporr                       Filed Frorn: l0/5/1970 Filed
                                                                ilc.it..iu,     To:1011312020                               EXHIBIT
                                   Ftu,b'"1                      |E,.t'_l       0.   r0                                        3
